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15   COMPANY
16
                                   UNITED STATES DISTRICT COURT
17                                NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
18

19
     UNITED STATES OF AMERICA,                           Case No. 14-CR-00175-WHA
20
                                  Plaintiff,             PG&E’S 28-DAY REPORT FOR
21                                                       OCTOBER 11-12, 2021 PSPS EVENT
22          v.                                           Judge: Hon. William Alsup
23
     PACIFIC GAS AND ELECTRIC COMPANY,
24
                                  Defendant.
25

26

27

28
                        PG&E’S 28-DAY REPORT FOR OCTOBER 11-12, 2021 PSPS EVENT
                                        Case No. 14-CR-00175-WHA
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 1                  Defendant Pacific Gas and Electric Company (“PG&E”) respectfully submits this 28-

 2   day report for the October 11-12, 2021 Public Safety Power Shutoff (“PSPS”) event (the “PSPS

 3   Event”) pursuant to the Court’s April 29, 2021 order. (Dkt. 1386.)

 4                  The information provided in this report is based on PG&E records reviewed as of the

 5   date of this filing. The information is preliminary and subject to change and further validation.

 6                  1. How many circuits were turned off in the PSPS.

 7                  PG&E pre-emptively de-energized 95 distribution circuits as part of the PSPS Event.1
 8                  2. How many of such circuits had limbs and/or trees blown or fallen
                    onto the lines (as determined in the post-storm inspection).
 9
                    As part of PG&E’s post-event patrols prior to re-energizing distribution circuits,
10
     PG&E identifies damage to PG&E’s assets that require repair or replacement and classifies those
11
     conditions as an instance of “damage”. PG&E’s records reflect that, during the post-event patrols of
12
     the 95 de-energized distribution circuits, conducted following the PSPS Event, such patrols
13
     identified four instances of damage attributable to vegetation.2
14
                    PG&E’s post-event patrols also identify conditions that, in the judgment of the
15
     personnel conducting the patrol, might have posed an electrical arcing risk or a risk of ignition had
16
     the circuit been energized, even though there was no damage to PG&E equipment necessitating
17
     repair, and classifies those conditions as “hazards”. PG&E’s records reflect that, during the post-
18

19

20

21       1
            Because PG&E understands the scope of the Court’s April 29, 2021 order to be focused on
22   distribution circuits, the information in this report relates only to distribution circuits. PG&E notes
     that there were also three transmission circuits de-energized related to the October 11-12, 2021 PSPS
23   event. No damages or hazards were recorded during post-event patrols on these transmission
     circuits. Of the transmission circuits in an HFTD which were not pre-emptively de-energized as part
24   of the PSPS Event, PG&E’s records reflect that no outages and no ignitions attributable to vegetation
     occurred between the start of the PSPS event of 0700 PDT on October 11 and the final weather “all
25   clear” of 1253 PDT on October 12.
26       2
           PG&E’s records reflect that the post-event patrols identified three instances of non-vegetation-
27   related damage.

28   2
                         PG&E’S 28-DAY REPORT FOR OCTOBER 11-12, 2021 PSPS EVENT
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 1   event patrols of the 95 de-energized distribution circuits, conducted following the PSPS Event, such

 2   patrols identified one instance of a hazard that was attributable to vegetation.3

 3                  3. How many of such strikes would, in the judgment of PG&E, have
                    started a fire (regardless of size) had the circuit been energized at the
 4                  time of the strike.
 5                  While PG&E is unable to determine whether any of the conditions identified in
 6   response to Question 2 would have started a fire, based on PG&E’s post-event reporting patrols,
 7   PG&E is aware of five vegetation strikes that may have posed an electrical arcing risk or a risk of
 8   ignition had PG&E not de-energized the circuit as part of the PSPS event.
 9                  4. How many circuits left energized had limbs and/or trees blown or
10                  fallen onto the lines by the storm without causing a fire.

11                  Of the circuits in an HFTD which were not pre-emptively de-energized as part of the

12   PSPS Event, PG&E’s ordinary course records reflect 12 sustained outages attributable to vegetation

13   on 12 distribution circuits during the time period between the start of the PSPS event of 0700 PDT

14   on October 11 and the final weather “all clear” of 1253 PDT on October 12 that were not associated

15   with an ignition.4

16                  5. How many circuits left energized with strikes that in fact resulted in
                    fires (regardless of size).
17
                    Of the circuits in an HFTD which were not pre-emptively de-energized as part of the
18
     PSPS Event because they were not forecast to meet PG&E’s PSPS criteria, PG&E’s ordinary course
19
     records reflect that one fire (which was less than ten acres in size) was attributable to vegetation
20
     making contact with an energized distribution circuit during the time period between the start of the
21

22

23
         3
          PG&E’s records reflect that the post-event patrols did not identify any non-vegetation-related
24   hazards.
25       4
           PG&E’s response here does not include outages occurring below the distribution level, i.e., on
     secondary lines or service drops which service as few as one customer. PG&E does not in the usual
26   course identify whether each such outage is attributable to vegetation, as opposed to contact with
27   other foreign objects.

28   3
                          PG&E’S 28-DAY REPORT FOR OCTOBER 11-12, 2021 PSPS EVENT
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 1   PSPS event of 0700 PDT on October 11 and the final weather “all clear” of 1253 PDT on October

 2   12.

 3                  The above five categories should each be further broken down by
                    those circuits that were in substantial compliance with section 4293 as
 4                  well as PG&E’s Wildfire Mitigation Plan.
 5                  To maintain compliance with Section 4293 and other regulatory requirements, all of
 6   PG&E’s distribution circuits in HFTDs are scheduled for routine vegetation management and
 7   CEMA patrols (and, as necessary, post-fire restoration patrols). Those patrols generate orders or tags
 8   for work that are then worked according to their prescribed timelines, which depend on the priority
 9   of tree work identified by the inspector. In Appendix A and Appendix B, PG&E provides the
10   information responsive to Questions 1-5 on a circuit-by-circuit basis, and for each listed circuit,
11   includes the number of vegetation management tags that PG&E’s records indicate had been created
12   prior to October 11, 2021 as part of PG&E’s routine vegetation management program, CEMA
13   program or post-fire restoration program, and not marked as complete by October 11, 2021.5
14

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25         5
           Vegetation work that was outstanding at this time related to other programs, such as EVM,
     system hardening and reliability patrols, have been excluded from Appendices A and B. Vegetation
26   work called for by those programs is either not aimed at section 4293 compliance or goes beyond
27   what is required for section 4293 compliance.

28   4
                         PG&E’S 28-DAY REPORT FOR OCTOBER 11-12, 2021 PSPS EVENT
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 1       Dated: October 19, 2021                           Respectfully Submitted,

 2                                                         JENNER & BLOCK LLP
 3

 4                                                      By:    /s/ Reid J. Schar
                                                              Reid J. Schar (pro hac vice)
 5
                                                           CRAVATH, SWAINE & MOORE LLP
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 7
                                                        By:    /s/ Kevin J. Orsini
 8                                                            Kevin J. Orsini (pro hac vice)

 9                                                         CLARENCE DYER & COHEN LLP
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11                                                      By:    /s/ Kate Dyer
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12

13                                                      Attorneys for Defendant PACIFIC GAS AND
                                                        ELECTRIC COMPANY
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28   5
                         PG&E’S 28-DAY REPORT FOR OCTOBER 11-12, 2021 PSPS EVENT
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 1                                                      Appendix A6

 2                 Distribution Circuits De-Energized as Part of the October 11-12, 2021 PSPS Event

 3                                                  Number of Vegetation-Related
                                                                                       Number of Outstanding
                                                                                         Vegetation Tags
 4                                                                  Damages
                                         Circuit                      and
 5       Circuit
                                         Miles7                     Hazards Priority Priority
                                                    Damages Hazards                                     Other10
                                                                      with     18       29
 6                                                                  Ignition
                                                                    Potential
 7       ANDERSON 1103                    121           -          -            -     -         -             -
 8       ANTELOPE 1101                    157           -          -            -     -         -           388
         ARBUCKLE 1101                    192           -          -            -     -         -           490
 9       ARBUCKLE 1104                    85            -          -            -     -         -           183
         AVENAL 2101                      92            -          -            -     -         -           161
10       BIG BEND 1101                    191           -          -            -     -         2           240
11       BRENTWOOD 2105                   239           -          -            -     -         -             -
         BUCKS CREEK 1103                 143           -          -            -     -         -             -
12       CALISTOGA 1101                   133           -          -            -     -         -            31
         CALPINE 1144                     248           -          -            -     -         -           755
13       CALPINE 1146                     192           -          -            -     -         -             -
14       CAMBRIA 1102                     128           -          -            -     -         -             -
         CANTUA 1103                      205           -          -            -     -         -            13
15       CARBONA 1101                     230           -          -            -     -         -            5
         CHOLAME 2102                     236           -          -            -     -         -           409
16       CLARK ROAD 1102                  25            -          1            1     -         -           985
         CLAYTON 2212                     220           -          -            -     -         -            9
17
         CLOVERDALE 1102                  19            -          -            -     -         -           735
18       COALINGA NO 1 1108               33            -          -            -     -         -           30
19          6
                Please refer to the body of this filing for an explanation of the values included herein.
20          7
                The circuit miles are the total miles for the circuit listed.
21          8
          Priority 1 tags are used to identify vegetation that is (1) in contact or showing signs of previous
22   contact with a primary conductor; (2) actively failing or at immediate risk of failing and could strike
     PG&E’s facilities; or (3) presenting an immediate risk to PG&E’s facilities.
23
            9
           Priority 2 tags are used to identify vegetation that (1) has encroached within the PG&E
24   minimum clearance requirements and is not in contact with a conductor or (2) has an identifiable
     integrity issue that does not rise to the level of a Priority 1 condition but is likely to strike facilities
25   and may manifest into a risk before the next scheduled inspection.
26          10
          “Other” includes non-priority tags created as a part of PG&E’s routine vegetation
27   management program, CEMA program or post-fire restoration program.

28   6
                              PG&E’S 28-DAY REPORT FOR OCTOBER 11-12, 2021 PSPS EVENT
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 1                                        Number of Vegetation-Related
                                                                         Number of Outstanding
                                                                           Vegetation Tags
 2                                                        Damages
                                Circuit                     and
 3       Circuit
                                Miles7                    Hazards Priority Priority
                                          Damages Hazards                                Other10
                                                            with     18       29
 4                                                        Ignition
                                                          Potential
 5       COALINGA NO 1 1109      107         -         -          -      -        2       127
 6       COALINGA NO 2 1105      12          -         -          -      -        -       246
         CORNING 1101            208         -         -          -      -        -        45
 7       CORNING 1102            48          -         -          -      -        -       39
         CORTINA 1101            53          -         -          -      -        1        60
 8       COTTONWOOD 1103         128         -         -          -      -        -         -
 9       CRESTA 1101             94          -         -          -      -        -         -
         DESCHUTES 1101          13          -         -          -      -        -         -
10       DESCHUTES 1104           1          -         -          -      -        -         -
         DEVILS DEN 1101         176         -         -          -      -        -        3
11       ELK CREEK 1101          181         -         -          -      -        1       438
12       GEYSERVILLE 1102        121         -         -          -      -        2       450
         GIRVAN 1101             55          -         -          -      -        -       120
13       GLENN 1101              107         -         -          -      -        1         -
         GUSTINE 1102            161         -         -          -      -        -         -
14       HIGHLANDS 1102          43          -         -          -      -        -       99
         HIGHLANDS 1103          229         -         -          -      -        -         -
15
         JESSUP 1102             42          -         -          -      -        -         -
16       JOLON 1102              238         -         -          -      -        4       210
         JOLON 1103              176         -         -          -      -        1       189
17       KANAKA 1101             174         -         -          -      -        -         -
         KETTLEMAN HILLS         164         -         -          -      -        -       393
18
         2104
19       KING CITY 1106          135         1         -         1       -        -         -
         KONOCTI 1102            23          -         -         -       -        4        39
20       LAMONT 1102             55          -         -         -       -        -       341
         LAMONT 1104             55          -         -         -       -        -       966
21       LOGAN CREEK 2102        42          -         -         -       -        -         -
22       LONE TREE 2105          98          -         -         -       -        -         -
         LOS MOLINOS 1101        137         -         -         -       -        -        8
23       LOS OSITOS 2103         157         -         -         -       -        -        35
         MADISON 1105            110         -         -         -       -        1        50
24       MADISON 2101            105         -         -         -       -        -         -
25       MAGUNDEN 1108           205         -         -         -       -        -        1
         MAXWELL 1105            100         -         -         -       -        -         -
26       MIDDLETOWN 1101         79          -         -         -       -        -       219
         MIDDLETOWN 1102         28          -         -         -       -        -         -
27

28   7
                        PG&E’S 28-DAY REPORT FOR OCTOBER 11-12, 2021 PSPS EVENT
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 1                                        Number of Vegetation-Related
                                                                         Number of Outstanding
                                                                           Vegetation Tags
 2                                                        Damages
                                Circuit                     and
 3       Circuit
                                Miles7                    Hazards Priority Priority
                                          Damages Hazards                                Other10
                                                            with     18       29
 4                                                        Ignition
                                                          Potential
 5       MIDDLETOWN 1103         80          -         -          -      -         -        -
 6       MONTICELLO 1101         278         -         -          -      -         -        -
         OILFIELDS 1103          151         -         -          -      -         -       16
 7       PANOCHE 1103            164         -         -          -      -         -       3
         PANORAMA 1101           51          -         -          -      -         -        -
 8       PANORAMA 1102           32          -         -          -      -         -       8
 9       PERRY 1101              76          -         -          -      -         -      25
         PUEBLO 1104             275         -         -          -      -         -        -
10       PUEBLO 1105             54          -         -          -      -         -      171
         PUTAH CREEK 1102        38          -         -          -      -         -      43
11       PUTAH CREEK 1103        155         -         -          -      -         -       32
12       PUTAH CREEK 1105        258         -         -          -      -        13      365
         RED BLUFF 1101          14          -         -          -      -         -        -
13       RED BLUFF 1103          52          -         -          -      -         -        -
         RED BLUFF 1104          187         -         -          -      -         -       44
14       REDBUD 1101             156         -         -          -      -         -       5
         SAN ARDO 1102           64          -         -          -      -         -        -
15
         SAN MIGUEL 1106         88          -         -          -      -        31      615
16       SANTA NELLA 1104        138         -         -          -      -         -        -
         SILVERADO 2102          492         -         -          -      -         -       57
17       SILVERADO 2104          107         -         -          -      -         -       10
         SISQUOC 1102            85          -         -          -      -         -        -
18
         SYCAMORE CREEK          201         -         -          -      -         -        -
19       1111
         TASSAJARA 2104          117         -         -         -       -        -          -
20       TASSAJARA 2112          91          -         -         -       -        -        311
         TEJON 1102              191         3         -         3       -        -          -
21       TEJON 1103              146         -         -         -       -        -        129
22       TEMPLETON 2110          62          -         -         -       -        -        443
         TEMPLETON 2113          104         -         -         -       -        -         1
23       TYLER 1105              35          -         -         -       -        -        342
         VACA DIXON 1101         259         -         -         -       -        -          -
24       VACA DIXON 1105         191         -         -         -       -        2        569
25       VACAVILLE 1104          192         -         -         -       -        -         80
         VACAVILLE 1108          78          -         -         -       -        -       1,111
26       VACAVILLE 1111          65          -         -         -       -        -          -
         VACAVILLE 1112          99          -         -         -       -        -          -
27

28   8
                        PG&E’S 28-DAY REPORT FOR OCTOBER 11-12, 2021 PSPS EVENT
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 1                                        Number of Vegetation-Related
                                                                         Number of Outstanding
                                                                           Vegetation Tags
 2                                                        Damages
                                Circuit                     and
 3       Circuit
                                Miles7                    Hazards Priority Priority
                                          Damages Hazards                                Other10
                                                            with     18       29
 4                                                        Ignition
                                                          Potential
 5       VASCO 1102              89          -         -          -      -         -       9
 6       VOLTA 1101              162         -         -          -      -         -       -
         WESTLEY 1103            109         -         -          -      -        13      454
 7       ZACA 1102               139         -         -          -      -         -      83
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                        PG&E’S 28-DAY REPORT FOR OCTOBER 11-12, 2021 PSPS EVENT
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 1                                                    Appendix B11

 2    Relevant Distribution Circuits Not De-Energized as Part of the October 11-12, 2021 PSPS Event12

 3                                                               Number of               Number of Outstanding
                                         Circuit    HFTD      Vegetation-Related             Vegetation Tags
 4    Circuit
                                         Miles13     Tier                            Priority Priority
                                                              Outages    Ignitions                         Other16
                                                                                       114        215
 5    AUBERRY 1101                        378       Tier 2        1            -        -         -         755
 6    BIG BASIN 1102                      134       Tier 3        1            -        -        14*        427
      CAMBRIA 1102                        79        Tier 2        -            1        -         -         219
 7    MARTELL 1103                        49        Tier 2        1            -        -         -         128
      MENLO 1103                          91        Tier 2        1            -        -         -          3
 8    MIWUK 1702                          183       Tier 3        1            -        -        1*          40
      MORAGA 1104                         81        Tier 2        1            -        -        1*           5
 9
      ORO FINO 1102                       200       Tier 3        1            -        -         -         128
10    ROB ROY 2104                        261       Tier 2        1            -        -        2*          68
      SALT SPRINGS 2102                   109       Tier 2        1            -        -         -         662
11    SHINGLE SPRINGS 2109                343       Tier 2        1            -        -         -           -
      SHINGLE SPRINGS 2110                107       Tier 3        1            -        -         -           -
12
      WYANDOTTE 1109                      238       Tier 2        1            -        -         -          62
13

14

15        *
            The presence of an outstanding Priority 2 tree tag on this circuit did not trigger inclusion in the
     initial scope for de-energization because the portion of the circuit associated with the Priority 2 tree
16   work was not forecast to meet PG&E’s minimum fire potential conditions.
17        11
               Please refer to the body of this filing for an explanation of the values included herein.
18        12
            Distribution circuits are included in this Appendix B if, during the PSPS event, (i) they were
19   not de-energized and (ii) experienced a vegetation-related outage or ignition, as reflected in PG&E’s
     records as of the date of this response.
20        13
               The circuit miles are the total miles for the circuit listed.
21        14
            Priority 1 tags are used to identify vegetation that is (1) in contact or showing signs of
22   previous contact with a primary conductor; (2) actively failing or at immediate risk of failing and
     could strike PG&E’s facilities; or (3) presenting an immediate risk to PG&E’s facilities.
23
          15
            Priority 2 tags are used to identify vegetation that (1) has encroached within the PG&E
24   minimum clearance requirements and is not in contact with a conductor or (2) has an identifiable
     integrity issue that does not rise to the level of a Priority 1 condition but is likely to strike facilities
25   and may manifest into a risk before the next scheduled inspection.
26        16
          “Other” includes non-priority tags created as a part of PG&E’s routine vegetation
27   management program, CEMA program or post-fire restoration program.

28   10
                             PG&E’S 28-DAY REPORT FOR OCTOBER 11-12, 2021 PSPS EVENT
                                             Case No. 14-CR-00175-WHA
